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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

    v.                                               Case No. 23-CR-288 (BAH)

 JOSEPH PASTUCCI

     Defendant.

                        JOINT MOTION TO CONTINUE ABEYANCE

         The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, and the defendant, Joseph Pastucci, by and through his attorney request,

pursuant to the Court’s July 31, 2024, minute order, that this Court continue to hold in abeyance

the deadlines set in the Court’s July 30, 2024, minute order. The parties have conferred extensively

in this case and have agreed to a plea resolution. However, the parties are still resolving the

procedural details of that plea. So that the parties have sufficient time to resolve these procedural

matters, the parties respectfully request that this Court continue to hold all deadlines in this case

in abeyance for two weeks until September 18, 2024.




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Respectfully submitted,

       MATTHEW M. GRAVES                            JOSEPH PASTUCCI
       United States Attorney
       D.C. Bar No. 481052                    By:   /s/Stephanie L. Cesare _____
                                                    STEPHANIE L. CESARE
By:    /s/ Sean P. McCauley                         Pennsylvania Bar. No. 308102
       SEAN P. McCAULEY                             Abom & Kutulakis, LLP
       New York Bar No. 5600523                     2 West High Street
       Assistant United States Attorney             Carlisle, PA 17013
       United States Attorney’s Office              (717)249-0900
       For the District of Columbia                 slc@abomkutulakis.com
       601 D Street NW
       Washington, DC 20530
       Sean.McCauley@usdoj.gov

       /s/ Sean J. Brennan
       SEAN J. BRENNAN
       Assistant United States Attorney
       NY Bar No. 5954128
       601 D Street NW
       Washington, DC 20530
       Sean.Brennan@usdoj.gov
       (202)252-7125




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